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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   LINDA C. HARTER, Bar #179741
     Chief Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MICHAEL PAUL MARTINEZ
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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,          )   NO. CR.S-08-169-EJG
11                                      )
                      Plaintiff,        )               AMENDED
12                                      )         STIPULATION AND ORDER;
          v.                            )      CONTINUING STATUS CONFERENCE
13                                      )          AND EXCLUDING TIME
     MICHAEL THOMPSON,                  )
14   STEVEN JOSEPH SORIA,               )   Date: June 20, 2008
     MICHAEL PAUL MARTINEZ,             )   Time: 10:00 a.m.
15                                      )   Judge: Hon. Edward J. Garcia
                    Defendant.
16   _______________________________

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          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, JASON HITT, Assistant United States Attorney,
19
     attorney for Plaintiff, HAYES H. GABLE, III for MICHAEL THOMPSON,
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     THOMAS A. JOHNSON for STEVEN JOSEPH SORIA and LINDA C. HARTER, Chief
21
     Assistant Federal Defender, for MICHAEL MARTINEZ, that the status
22
     conference hearing date of June 20, 2008 be vacated, and the matter be
23
     set for status conference on August 8, 2008 at 10:00 a.m.
24
               The reason for this continuance is to allow defense counsel
25
     additional time to review discovery, to examine possible defenses and
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     to continue investigating the facts of the case.
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          Based upon the foregoing, the parties agree that the time under
28
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 1   the Speedy Trial Act should be excluded from the date of signing of
 2   this order through and including August 8, 2008 pursuant to 18 U.S.C.
 3   §3161 (h)(8)B)(iv)[reasonable time to prepare] and Local Code T4 based
 4   upon continuity of counsel and defense preparation.
 5   DATED:    June 19, 2008.                  Respectfully submitted,
 6                                                   DANIEL J. BRODERICK
                                                     Federal Public Defender
 7
 8
     DATED:    June 19, 2008.                        /s/ Linda C. Harter
 9                                                   LINDA C. HARTER
                                                     Chief Assistant Federal Defender
10                                                   Attorney for Defendant
                                                     MICHAEL MARTINEZ
11
                                                     /s/ Linda C. Harter for
12                                                   HAYES H. GABLE, III
                                                     Attorney for Defendant
13                                                   MICHAEL THOMPSON
14                                                   /s/ Linda C. Harter for
                                                     THOMAS A. JOHNSON
15                                                   Attorney for Defendant
                                                     STEVEN JOSEPH SORIA
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17
18   DATED:    June 19, 2008.                        McGREGOR W. SCOTT
                                                     United States Attorney
19
20
                                                     /s/Linda C. Harter for
21                                                   JASON HITT
                                                     Assistant U.S. Attorney
22                                                   Attorney for Plaintiff
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                                       O R D E R
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           IT IS SO ORDERED.    Time is excluded from today’s date through and
 4
     including August 8, 2008 in the interests of justice pursuant to 18
 5
     U.S.C. §3161(h)(8)(B)(iv) [reasonable time to prepare] and Local Code
 6
     T4.
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 8
     DATED: June 19, 2008.              /s/ Edward J. Garcia
 9                                     EDWARD J. GARCIA
                                       United States District Judge
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